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                      EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA
                                   AT CHARLESTON


IN RE: ETHICON, INC. PELVIC REPAIR                            Master File No. 2:12-MD-02327
SYSTEM PRODUCTS LIABILITY                                             MDL No. 2327
LITIGATION

                                                                   JOSEPH R. GOODWIN
THIS DOCUMENT RELATES ONLY TO:                                     U.S. DISTRICT JUDGE
[PLAINTIFF] v. ETHICON, INC., et al.
CASE NO. 2:12-cv-[XXXXX]



            ETHICON, INC.’S MOTION TO DISMISS AND INCORPORATED
                      MEMORANDUM OF LAW IN SUPPORT


        Defendant Ethicon, Inc. (“Ethicon”), by and through the undersigned counsel, hereby

moves to dismiss with prejudice the above-captioned case for failure to timely provide a

completed Plaintiff Profile Form in accordance with Pretrial Order #17 (“PTO #17”).1

                                           BACKGROUND

        Pursuant to PTO #17, each plaintiff in MDL No. 2327 must submit a completed Plaintiff

Profile Form (“PPF”). See PTO #17, ECF No. 281 (Oct. 4, 2012). For any plaintiff whose case

was pending in MDL No. 2327 at the time PTO #17 was entered on October 4, 2012, the PPF

was to be filed within sixty days of the date of entry of PTO #17, or no later than December 3,




1
  Ethicon is the proper defendant in this matter and has been named a party-defendant in every case
currently pending in MDL No. 2327. In addition to Ethicon, some plaintiffs in MDL No. 2327 have
named one or more of the following as a co-defendant: Johnson & Johnson; Ethicon LLC; Ethicon
Women’s Health & Urology (a division of Ethicon that can neither sue nor be sued); and Gynecare, Inc.,
(a business corporation that no longer exists). To the extent any of these additional entities is named as a
co-defendant in the above-referenced case, this motion is filed on behalf of Ethicon and that co-defendant,
all of whom are collectively referred to hereafter as “Ethicon.”
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2012.2 See id. at 1. For any plaintiff whose case became a part of MDL No. 2327 after entry of

PTO #17, the PPF was to be filed within sixty days of that plaintiff filing a Short Form

Complaint. See id. If a plaintiff fails to submit a PPF within the time specified by PTO #17, the

“defendants may move immediately to dismiss that plaintiff’s case without first resorting to”

certain deficiency cure procedures set forth elsewhere in PTO #17. Id. at 4.

       Plaintiff’s case was filed in or transferred to MDL No. 2327 after the entry of PTO #17.

Plaintiff’s Short Form Complaint was filed on [DATE]. Therefore, under the terms of PTO #17,

Plaintiff was required to submit a PPF no later than [SIXTY DAYS LATER]. Plaintiff has yet to

file a PPF and has thus failed to comply with PTO # 17.

                                           ARGUMENT

       Federal Rule of Civil Procedure 16(f)(1) provides in pertinent part that, “[o]n motion or

on its own, the court may issue any just orders, including those authorized by Rule

37(b)(2)(A)(ii)-(vii), if a party or its attorney . . . fails to obey a scheduling or other pretrial

order.” Fed. R. Civ. P. 16(f)(1)(C). Rule 37(b)(2)(A) in turn provides that, when a party “fails

to obey an order to provide or permit discovery,” the court may “issue further just orders,”

including “dismissing the action or proceeding in whole or in part.”               Fed. R. Civ. P.

37(b)(2)(A)(v).

       A trial court has broad discretion in applying the sanctions set forth in Rule 37. See, e.g.,

Holdren v. Poncove, Inc., No. 5:07-cv-00488, 2008 WL 4950146, at *1 (S.D. W. Va. Nov. 18,

2008) (citing W. Reserve Oil & Gas Co. v. Key Oil, Inc., 626 F. Supp. 948, 949 (S.D. W. Va.

1986)). The Fourth Circuit has previously held that a plaintiff’s willful disregard of a district

court’s pretrial order establishing a discovery timetable warranted preclusion of evidence critical


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 A carte blanche extension was granted extending the due date to December 13, 2012, for all plaintiffs
who made such a request.
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to the plaintiff’s case, resulting in dismissal of suit. See Rabb v. Amatex Corp., 769 F.2d 996,

1000 (4th Cir. 1985). Moreover, dismissal of a case is available as a remedy for failing to

answer interrogatories or to respond to other discovery such that it becomes impossible to

determine the merits of a claim. See Mut. Fed. Sav. & Loan Ass’n v. Richards & Assoc., Inc.,

872 F.2d 88, 92-93 (4th Cir. 1989); see also Nat’l Hockey League v. Metropolitan Hockey Club,

Inc., 427 U.S. 639, 640-42 (1976).

       Here, Plaintiff’s failure to abide by the requirements of PTO #17 warrants dismissal of

this case with prejudice. The information contained in a completed PPF, as well as the medical

records that a plaintiff must submit with the completed PPF, are essential to the defense of this

action. Indeed, in multidistrict proceedings, the exchange of profile forms such as the PPF is the

initial step in the bellwether selection process. See Honorable Eldon E. Fallon et al., Bellwether

Trials in Multidistrict Litigation, 82 Tul. L. Rev. 2323, 2344 (2008). Profile forms give the

attorneys some knowledge, however limited, about the individual cases in the MDL, thereby

allowing them to make educated selections as to which cases are appropriate for additional case-

specific discovery as part of the discovery pool. Potential bellwether cases are later selected

from this discovery pool, meaning that a case the parties do not select for the discovery pool will

not be one of the initial bellwethers.

       In short, without a completed PPF, it is simply impossible for Ethicon to assess the merits

of a claim and to determine which cases are appropriate bellwether candidates. See Gaydos v.

Guidant Corp. (In re Guidant Corp. Implantable Defibrillators Prods. Liab. Litig.), 496 F.3d

863, 867 (8th Cir. 2007) (“Given the time pressure on a defendant that must investigate the

claims of nearly 1,400 plaintiffs, we consider the danger of prejudice substantial [from failure to

produce plaintiff fact sheet].”). This Court recognized as much, setting precise deadlines by



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which completed PPFs were to be submitted and warning that failure to comply with these

deadlines would warrant an immediate motion to dismiss by the defendants. Because Plaintiff

failed to timely submit a completed PPF, as required by PTO #17, dismissal of the above-

referenced case is appropriate.

                                       CONCLUSION

       For the reasons set forth above, Ethicon respectfully requests that the Court enter an

Order dismissing the above-captioned Plaintiff’s claims with prejudice for failure to provide a

completed Plaintiff Profile Form, as required by PTO #17.

                                           Respectfully submitted,

                                           ETHICON, INC. AND
                                           JOHNSON & JOHNSON


                                           /s/ David B. Thomas
                                           David B. Thomas (W. Va. Bar No. 3731)
                                           Thomas Combs & Spann, PLLC
                                           300 Summers Street, Suite 1380
                                           P.O. Box 3824
                                           Charleston, WV 25338-3824
                                           (304) 414-1800

                                           /s/ Christy D. Jones
                                           Christy D. Jones
                                           Butler, Snow, O’Mara, Stevens & Cannada, PLLC
                                           1020 Highland Colony Parkway
                                           Suite 1400 (39157)
                                           P.O. Box 6010
                                           Ridgeland, MS 39158-6010
                                           (601) 985-4523




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                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT CHARLESTON


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                                CERTIFICATE OF SERVICE

       I, David B. Thomas, certify that on                 , I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the CM/ECF participants registered to receive service in this MDL.



                                             /s/ David B. Thomas
                                             David B. Thomas (W. Va. Bar No. 3731)
                                             Thomas Combs & Spann, PLLC
                                             300 Summers Street, Suite 1380
                                             P.O. Box 3824
                                             Charleston, WV 25338-3824
                                             (304) 414-1800

                                             COUNSEL FOR DEFENDANTS ETHICON, INC.
                                             AND JOHNSON & JOHNSON
